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 8     Chelsea Hamilton and Alyssa Hernandez
 9     [Additional counsel listed on the following page]
10                          UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
       CHELSEA HAMILTON, individually             Case No.: 5:17-cv-01415 AB (KKx)
13     and on behalf of all others similarly
14
       situated, and ALYSSA HERNANDEZ,            [Hon. Andre Birotte Jr., Crtrm 7B]
       individually and on behalf of all others
15     similarly situated;                        PLAINTIFFS’ MOTION IN LIMINE
                                                  NO. 4 TO EXCLUDE
16                  Plaintiffs,                   DEFENDANTS’ UNDISCLOSED
                                                  WITNESSES
17     v.
18     WAL-MART STORES, INC., a                   Date: March 15, 2019
       corporation, WAL-MART                      Time: 11:00 a.m.
19     ASSOCIATES, INC., a corporation and        Place: Courtroom 7B
       DOES 1 through 50, inclusive,
20
                    Defendants.                   Pretrial Conference Date: 3/15/19
21                                                Trial Date: 4/2/19
22                                                [Filed Concurrently with Declaration of
                                                  G. Samuel Cleaver and [Proposed]
23                                                Order]
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11     Chelsea Hamilton and Alyssa Hernandez
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 1     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2            PLEASE TAKE NOTICE that on March 15, 2019, at 11:00 a.m., or as soon
 3     thereafter as this matter may be heard in Courtroom 7B of the above-entitled
 4     Court, located at 350 West First Street, Los Angeles, California 90012, Plaintiffs
 5     Chelsea Hamilton and Alyssa Hernandez (“Plaintiffs”) will, and hereby do, move
 6     the Court for an order permitting them to conduct the depositions of Defendants
 7     Wal-Mart      Stores,    Inc.   and   Wal-Mart   Associates,    Inc.’s   (collectively
 8     “Defendants”) previously unidentified witnesses, including Victoria Spradlin-
 9     Moore and Joe Barnes, from testifying at trial in this matter. In the alternative,
10     Plaintiffs seek an order to exclude these previously unidentified witnesses from
11     testifying at trial in this matter.
12            Defendants failed to identify Ms. Moore and Mr. Barnes in their October
13     20, 2017 Initial Disclosures and their November 15, 2018 Supplemental
14     Disclosures. Plaintiffs will suffer substantial prejudice if Ms. Moore is able to
15     testify as they have not had the opportunity to depose her or conduct follow up
16     discovery on her potential testimony. Ms. Moore previously verified Defendants’
17     explanation of the information in their Shift Pattern Document, (DE 177-1), which
18     is one of the key evidentiary documents in this case for Plaintiffs’ unpaid overtime
19     claim. Because Defendants did not identify Ms. Moore in their Initial Disclosures,
20     and served a single document in the case referencing her as verifying their
21     supplemental interrogatory responses two days before the discovery cut-off,
22     Plaintiffs have not had the chance to depose Ms. Moore. Plaintiffs do not know
23     her qualifications, her connection to this matter, and her understanding of the
24     information in the Shift Pattern Document. Accordingly, Plaintiffs will suffer
25     substantial prejudice if Ms. Moore testifies for Defendants at trial before Plaintiffs
26     have had the opportunity to conduct her deposition. Fed. R. Civ. P. Rule 37
27     provides for sanctions in the event of a failure to make disclosures required by
28     Fed. R. Civ. P. Rule 26(a).



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 1            Plaintiffs will further be prejudiced if Mr. Barnes and any other previously
 2     unidentified witnesses testify concerning Defendants’ alleged spoliation of
 3     evidence before Plaintiffs have had the opportunity to conduct his deposition.
 4            Accordingly, Plaintiffs seek an order either (1) directing Defendants to
 5     make Ms. Moore and Mr. Barnes (or any other previously unidentified witness on
 6     the spoliation issue) available for deposition at least seven days prior to April 2,
 7     2019 (the first day of trial), or (2) precluding testimony from such witnesses at
 8     trial in this action.
 9            This motion is made following the conference of counsel pursuant to
10     Central District of California Local Rule 37-1, which took place on February 15,
11     19, and 21, 2019. Plaintiffs submit in support of this motion, the moving papers,
12     herein, the Declaration of G. Samuel Cleaver in support hereof; the files in this
13     matter, and any other evidence which the Court may consider at the hearing of this
14     motion.
15
16     Dated: February 22, 2019          LAW OFFICES OF G. SAMUEL CLEAVER
17                                       YOON LAW, APC
                                         FERNANDEZ & LAUBY LLP
18
19                                       By: /s/ G. Samuel Cleaver
20                                                  G. Samuel Cleaver
                                         Attorneys for Plaintiffs
21                                       Chelsea Hamilton and Alyssa Hernandez
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2                 I.      INTRODUCTION AND STATEMENT OF FACTS
 3            Plaintiffs seek to depose the previously undisclosed percipient witnesses on
 4     Defendants’ list of trial witnesses, Victoria Spradlin Moore and Joe Barnes.
 5     (Cleaver Decl., Ex. A.) Defendants failed to identify either witness in their
 6     October 20, 2017 Initial Disclosures or their November 15, 2018 Supplemental
 7     Initial Disclosures. (Cleaver Decl. Ex. B, C.) Defendants have also refused to
 8     permit Plaintiffs to conduct the depositions of these two individuals, which
 9     request was made as part of meet and confer on this motion. Plaintiffs request,
10     ideally, an order directing Defendants to make Ms. Moore and Mr. Barnes (or any
11     other previously unidentified witness on the spoliation issue) available for
12     deposition at least seven days prior to April 2, 2019 (the first day of trial). In the
13     alternative, Plaintiffs seek an order precluding testimony from such witnesses at
14     trial in this action.
15                                        II. ARGUMENT
16            A.        Plaintiffs Should Be Permitted to Depose Ms. Spradlin-Moore
17            Prior to receiving Defendants’ witness list, the only knowledge Plaintiffs
18     had of Ms. Moore was that she signed a verification on November 14, 2016 for
19     Defendants’ Supplemental Responses to Plaintiffs’ Interrogatories (Set 3), Nos.
20     13-20. (Cleaver Decl. Ex. D, p. 11). November 14, 2016 was two days before the
21     discovery cut-off in this matter (DE 89), which effectively made it impossible for
22     Plaintiffs to depose Ms. Moore before the cut-off. Moreover, by failing to disclose
23     Ms. Moore in their November 15 Supplemental Initial Disclosures, Defendants
24     failed to disclose to Plaintiffs that Ms. Moore was potentially a trial witness.
25     When Plaintiffs offered to drop their objections to Ms. Moore as a witness if
26     Defendants would make her available for deposition, Defendants refused.
27     (Cleaver Decl. ¶ 6.)
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 1           Rule 37(c)(1) provides for sanctions in the event of failure to make the
 2     disclosures required by Rule 26(a). If a party fails to identify a witness as required
 3     by Rule 26(a), “the party is not allowed to use that information or witness to
 4     supply evidence on a motion at a hearing or a trial unless the failure was
 5
       substantially justified or harmless. In addition to or instead of this sanction, the
 6
       court on motion and after giving an opportunity to be heard . . . may impose other
 7
       appropriate sanctions, including any of the orders listed in Rule 37(b)(2)(A)(i)-
 8
       (iv).” See also Hoffman v. Const. Protective Servs., 541 F.3d 1175, 1179 (2008).
 9
             The failure to disclose Ms. Moore is particularly harmful because she
10
       verified Defendants’ explanation of the information in the Shift Pattern Document
11
       (DE 177-1), which is an important document for Plaintiffs’ unpaid overtime
12
       claim. The Shift Pattern Document evidences when employees at Walmart began
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       work at the company and what shifts the employees worked, including Alternate
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       Work Schedule (“AWS”) shifts. Defendants’ Interrogatory Responses Provide the
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       confirmation of what data is in the AWS. By first identifying Ms. Moore as a
16
       potential witness at the LR 16-2 conference and well after the discovery cut-off,
17
       Defendants have reserved to themselves the ability to provide an alternate
18
       explanation of the data in the Shift Pattern Document at trial, for which Plaintiffs
19
       may literally only have minutes to comprehend and challenge. 1 This is exactly the
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       kind of gamesmanship and unfair prejudice that the Rule 26 disclosures were
21
       meant to prevent.
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              Defendants have repeatedly stated they will agree that the data in this case
26     constitute business records. Thus, Ms. Moore must be intended to testify as to
27
       something other than the typical testimony of a custodian or records. During meet
       and confer process, Defendants refused to state what Ms. Moore’s testimony
28     would be and would not confirm if she will be able to provide testimony as a
       custodian of records for the shift pattern data.

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 1           B.     Plaintiffs Should Be Permitted to Depose Mr. Joe Barnes
 2           Plaintiffs further seek to depose Joe Barnes or any other unidentified
 3     witnesses2 who Defendants intend to call to testify on the issue of Defendants
 4     alleged spoliation of video evidence. Contrary to the evidence, Defendants claim
 5     that they have the right call previously unidentified witnesses because Defendants
 6     have only just learned that Plaintiffs are accusing them of spoliation of evidence.
 7     In reality, Defendants have known since last fall when Defendants admitted they
 8     had destroyed highly relevant video that Plaintiffs claim spoliation. (See e.g. DE
 9     146 10:19-21 (“Defendants’ spoliation of evidence is relevant because it indicates
10     that Defendants’ act of delaying production may have been in bad faith and a
11     tactical decision . . . .”). Docket Entry 146 was filed on November 9, 2018, which
12     is six days before Defendants served their Supplemental Initial Disclosures.
13     (Cleaver Decl., Ex. C.) There is, thus, no excuse for Defendants’ failure to
14     previously identify Mr. Barnes and any other witnesses to testify on the spoliation
15     issue. Plaintiffs should be permitted to depose any previously unidentified
16     witnesses that Defendants intend to designate on this issue.
17           Plaintiffs will be highly prejudiced at trial if Defendants are able to present
18     the testimony of a witness on their video recording and preservation of video at
19     the Chino facility for the first time at trial. Defendants have a sophisticated video
20     recording setup at the facility that includes approximately 250 cameras. Plaintiffs
21     will be at an extreme disadvantage if they are hearing detailed testimony about the
22     video system for the first time at trial. As with Ms. Spradlin-Moore, Plaintiffs
23     have not been able to take the video witnesses’ depositions or conduct any follow-
24     up discovery to determine the nature and significance of their testimony and how
25     2
              In conference of counsel on February 21, 2019, Defendants said they would
26     identify the witnesses on the spoliation issue as soon as possible. As part of meet
       and confer, Plaintiffs asked if the witness was Joe Barnes or someone else. In
27     response, Defendants stated that they did not yet know who the witness would be,
28     and that in addition, it might be two witnesses. Defendants did suggest it could be
       Mr. Barnes.As of the time of this filing, they have not identified any witnesses.


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 1     to challenge at trial. Instead, Plaintiffs will be forced to respond possibly within
 2     minutes of hearing the testimony for the first time. Plaintiffs should not be forced
 3     into such a disadvantageous position by Defendants’ failure to abide by Rule
 4     26(a)’s requirements.
 5           C.     In the Alternate, Plaintiffs Seek an Order Precluding the
 6                  Testimony of Defendants’ Unidentified Witnesses
 7           Plaintiffs believe that the jury should have all the information it needs to

 8     properly decide this matter. At the same time, Plaintiffs should not be prejudiced

 9     by Defendants’ failure to identify witnesses as Rule 26(a) requires. Plaintiffs have

10     offered to waive their objections to these unidentified witnesses if Defendants

11     would permit depositions pre-trial. Defendants refused. In the alternative to

12     depositions, Plaintiffs seek an order excluding all testimony from the unidentified

13     witnesses.

14                                     III.   CONCLUSION
15           For the foregoing reasons, Plaintiffs respectfully request that this Court an

16     issue an order directing Defendants to make Ms. Moore and any other witnesses

17     that Defendants intend to call to testify on the spoliation issue available for

18     deposition at least seven days before April 2, 2019.

19           In the alternative, Plaintiffs request the Court exclude these previously

20     unidentified witnesses from testifying at trial.

21
       Dated: February 22, 2019           LAW OFFICES OF G. SAMUEL CLEAVER
22                                        YOON LAW, APC
23                                        FERNANDEZ & LAUBY LLP
24
                                          By: /s/ G. Samuel Cleaver
25                                                   G. Samuel Cleaver
26                                        Attorneys for Plaintiffs
                                          Chelsea Hamilton and Alyssa Hernandez
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